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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
AUTHORS GUILD, DAVID BALDACCI, MARY
BLY, MICHAEL CONNELLY, SYLVIA DAY,
JONATHAN FRANZEN, JOHN GRISHAM, ELIN
HILDERBRAND, CHRISTINA BAKER KLINE,                   CONSOLIDATED CASES:
MAYA SHANBHAG LANG, VICTOR LAVALLE,                   No. 1:23-cv-08292-SHS
GEORGE R.R. MARTIN, JODI PICOULT,                     No. 1:23-cv-10211-SHS
DOUGLAS PRESTON, ROXANA ROBINSON,                     No. 1:24-cv-00084-SHS
GEORGE SAUNDERS, SCOTT TUROW, and
RACHEL VAIL, individually and on behalf of others    ORDER FOR ADMISSION
similarly situated,                                  PRO HAC VICE


                 Plaintiffs,

                     v.

OPENAI INC., OPENAI LP, OPENAI LLC,
OPENAI GP LLC, OPENAI OPCO LLC, OPENAI
GLOBAL LLC, OAI CORPORATION LLC,
OPENAI HOLDINGS LLC, OPENAI STARTUP
FUND I LP, OPENAI STARTUP FUND GP I LLC,
and OPENAI STARTUP FUND MANAGEMENT
LLC,

                 Defendants.

JONATHAN ALTER, KAI BIRD, TAYLOR
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,

                 Plaintiffs,

                     v.

OPENAI, INC., OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LCC,
OAI CORPORATION, LLC, OPENAI HOLDINGS,
LLC, and MICROSOFT CORPORATION,

                 Defendants.
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              The motion of Carolyn Homer for admission to appear pro hac vice in the above

captioned matter is granted.

      Applicant has declared that she is a member in good standing of the Bar of Washington D.C.

and the State of California, and that her contact information is as follows:

                                  Carolyn Homer
                                  MORRISON & FOERSTER LLP
                                  2100 L Street, NW Suite 900
                                  Washington, DC 20037, USA
                                  P: (202) 887-1500
                                  F: (202) 887-0763 or (202) 887-0764
                                  Email: CMHomer@mofo.com


Carolyn Homer, having requested admission pro hac vice to appear for all purposes as

counsel for Defendants OpenAI, Inc., OpenAI GP, L.L.C., OpenAI, L.L.C., OpenAI OPCO

L.L.C, OpenAI Global L.L.C, OAI Corporation, L.L.C. and, OpenAI Holdings, L.L.C., OpenAI

StartUp Fund I L.L.P., OpenAI StartUp Fund GP I L.L.C.,and OpenAI StartUp Fund Management

L.L.C., in the above-entitled action:

       IT IS HEREBY ORDERED that Carolyn Homer is admitted to practice pro hac vice in the

above-captioned case in the United States District Court for the Southern District of New York. All
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attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing the discipline of attorneys.



 Dated: 11/19/2024                                   Ona T. Wang
                                                     United States Magistrate Judge
